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 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   ROBERT W. RAINWATER, Bar #67212
     Assistant Federal Defender
 3   2300 Tulare Street, Suite 330
     Fresno, California 93721-2226
 4   Telephone: (559) 487-5561
 5   Attorney for Defendant
     ROBERT CLOVIS COX
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )    NO. 1:05-CR-0162 AWI
                                                     )
12                          Plaintiff,               )
                                                     )    STIPULATION TO CONTINUE
13          v.                                       )    MOTIONS HEARING, AND ORDER
                                                     )    THEREON
14   ROBERT CLOVIS COX,                              )
                                                     )
15                          Defendant.               )    Date: December 12, 2005
                                                     )    Time: 9:00 a.m.
16                                                   )    Judge: Honorable Anthony W. Ishii
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19                                                 STIPULATION
20          It is hereby stipulated by and between the parties hereto that the hearing on motions in the above
21   entitled matter previously set for November 28, 2005, be continued to December 12, 2005, at 9:00 a.m.
22          The reason for this continuance is to allow counsel for defendant time for further preparation.
23          The parties agree that time shall be excluded pursuant to 18 U.S.C. §§ 3161, subd.(h)(8)(A) and
24   (B) in that the ends of justice served by the continuance outweigh the best interest of the public and the
25   defendant in a speedy trial, since the failure to grant such a continuance would deny counsel for the
26   defendant the reasonable time necessary for effective preparation, taking into account the exercise of due
27   diligence.
28   ///
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 1                                                                  McGREGOR W. SCOTT
                                                                    United States Attorney
 2
 3
 4   DATED: November 16, 2005                               By:     /s/ David L. Gappa
                                                                    DAVID L. GAPPA
 5                                                                  Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
 6
 7
 8
     DATED: November 16, 2005                               By:     /s/ Roger K. Vehrs
 9                                                                  ROGER K. VEHRS
                                                                    Attorney for John E. Lemmenes
10
11
12                                                                  QUIN DENVIR
                                                                    Federal Public Defender
13
14
15   DATED: November 16, 2005                               By:     /s/ Robert W. Rainwater
                                                                    ROBERT W. RAINWATER
16                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
17                                                                  Robert Clovis Cox
18
19
20                                                      ORDER
21           IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. § 3161, subd. (h)(8)(A) and (B).
22   For the reasons stated above, the court finds that the ends of justice served by the delay outweigh the best
23   interest of the public and the defendants in a speedy trial.
24   IT IS SO ORDERED.
25   Dated:      November 18, 2005                       /s/ Anthony W. Ishii
     0m8i78                                        UNITED STATES DISTRICT JUDGE
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     Stip. to Continue Mtns Hrg and Order                   2
